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     EXHIBIT 5
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

In re: BAIR HUGGER FORCED AIR                          MDL No. 15-2666 (JNE/FLN)
WARMING DEVICES PRODUCTS
LIABILITY LITIGATION

This Document Relates to All Actions                   PRETRIAL ORDER NO. 9:
                                                       Establishing Common Benefit Fee and
                                                       Expense Funds



I.     SCOPE OF ORDER

       This Order is entered to provide for the fair and equitable sharing among plaintiffs and

their counsel of the burden of services performed and expenses incurred by attorneys acting for

the common benefit of all plaintiffs in this complex litigation.

       A.      Governing Principles—The Common Benefit Doctrine

       The governing principles are derived from the United States Supreme Court’s

common benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527 (1881);

refined in, inter alia, Central Railroad & Banking Co. v. Pettus, 113 U.S. 116 (1884);

Sprague v. Ticonic National Bank, 307 U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396

U.S. 375 (1970); Boeing Co. v. Van Gemert, 444 U.S. 472 (1980) and approved and

implemented in the MDL context in, inter alia, In re MGM Grand Hotel Fire Litigation, 660 F.

Supp. 522, 525-29 (D. Nev. 1987); and, In re Air Crash Disaster at Florida Everglades on

December 29, 1972, 549 F.2d 1006, 1019-21 (5th Cir. 1977).

       B.      Application

       This Order applies to all cases now pending or later filed in, transferred to, or removed

to, this Court (and which did not succeed in a motion to remand to state court) and which are

treated as part of In re: Bair Hugger Forced Air Warming Devices Products Liability Litigation,
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MDL No. 15-2666 (JNE/FLN) (this “MDL”), without regard to whether the plaintiff’s attorney

signs the “Participation Agreement” attached hereto as Exhibit A.

       The Participation Agreement need only be signed by state court counsel without any

cases filed or removed to, or transferred to this MDL as set forth in Section C below. This

Order further applies to all cases or claims (filed or unfiled) of all Participating Counsel as

defined in Section C and all cases or claims (filed or unfiled) in state or federal court where

the Participating Counsel has a fee interest.

       This Order does not apply to cases filed in state court where: (i) the plaintiff’s counsel

does not represent clients with cases filed or removed and/or transferred to this MDL; and (ii)

the counsel have not chosen to sign the Participation Agreement; and, (iii) counsel has not used

the work product of the MDL as later defined.

       C.      Participating Counsel and Participation Agreement (Exhibit A)

       Exhibit A, attached hereto and incorporated herein, is a voluntary Participation

Agreement for plaintiffs’ attorneys to be executed only if otherwise not subject to this self-

executing agreement.     The Participation Agreement is a private and cooperative agreement

between plaintiffs’ attorneys only, and not defendants’ counsel. “Participating Counsel” is

defined as any lawyer and their law firm who represents a client with a case on file in the MDL

now or in the future or any other lawyer and their law firm who signs the Participation

Agreement or uses the work product of the MDL as later defined. Participating Counsel are

entitled to receive the MDL “common benefit work product” and the state court “work

product” of those attorneys who have also signed the Participation Agreement if the leadership

in those state court litigations represent that the counsel in the state court litigation(s) agree.

Participating Counsel are eligible to make a submission for remuneration and reimbursement



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for work performed which qualifies as “common benefit time” and cost reimbursement in

accordance with the terms of the Participation Agreement and this Order. Fully executed

Participation Agreement forms should be submitted to Genevieve Zimmerman for the Plaintiffs’

Co-Lead Counsel at gzimmerman@meshbesher.com.

II.    PLAINTIFFS’ LITIGATION FEE AND EXPENSE FUNDS

       A.      Establishing the Fee and Expense Funds

       Plaintiffs’ Co-Lead Counsel is directed to establish two interest-bearing accounts to

receive and disburse funds as provided in this Order (the “Funds”). The first fund shall be

designated the “Bair Hugger Fee Fund” and the second fund shall be designated the “Bair

Hugger Expense Fund.” These Funds will be held subject to the direction of this Court. The

Court will appoint a qualified Certified Public Accountant to serve as the escrow agent (the

“Escrow Agent”) for the purpose of receiving and disbursing funds as provided in this

Order. These funds will be held as funds subject to the direction and further Order of the Court.

No party or attorney has any individual right to any of these funds except to the extent of

amounts directed to be disbursed to such person by Order of the Court. These funds do not

constitute the separate property of any party or attorney and are not subject to garnishment or

attachment for the debts of any party or attorney, except as directed to be disbursed to a specific

person as provided by Order of the Court.

       The hourly rates to be charged by the Escrow Agent shall be determined by the Court.

The Escrow Agent shall keep detailed records of all deposits and withdrawals and prepare tax

returns and other tax filings and shall provide quarterly reports on income and expenses to the

Plaintiffs’ Co-Lead Counsel. The Escrow Agent shall submit quarterly detailed bills to the

Court and to the Plaintiffs’ Co-Lead Counsel. Upon approval, the Escrow Agent’s bills shall be



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paid from the Bair Hugger MDL PSC Fund account, which has already been established by

Plaintiffs’ Co-Lead Counsel and funded by all members of the Plaintiffs’ Co-Lead Counsel,

PSC and others as determined by the Plaintiffs’ Co-Lead Counsel and its designated

subcommittees, until such time as there are sufficient funds in the Bair Hugger Expense Fund,

and shall be considered a Shared Cost as defined below.

         On or before June 15, 2016, the parties shall submit to the Court their written proposal

with respect to the identity of the Escrow Agent, his or her hourly rate, and any additional

parameters for the management of the “Bair Hugger Fee Fund” and the “Bair Hugger Expense

Fund.”

         B.     Payments into the Fee and Expense Funds: The Assessment

         All plaintiffs and their attorneys who have cases filed in this MDL or are Participating

Counsel subject to assessment as set forth in this Order and who agree or have agreed – for

monetary consideration – to settle, compromise or dismiss their case, with or without trial, or

who recover a judgment for monetary damages or other monetary relief, including compensatory

and punitive damages with respect to Bair Hugger claims are subject to an assessment on the

“Gross Monetary Recovery,” as set forth below.

                1.      Gross Monetary Recovery

         “Gross Monetary Recovery” includes any and all amounts paid by defendants as

settlement or judgment. In measuring the Gross Monetary Recovery, the parties are to

include (a) the cost to defendants to provide any fixed and certain payments to be made in

the future; (b) the fair market value of and/or costs to defendants for any other relief provided by

defendants; and, (c) any payments, which were made or in the future are to be made by

defendants on an intervention asserted by third-parties, such as physicians, hospitals or other



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healthcare providers in subrogation related to treatment of the specific plaintiff, unless said

payments were made by 3M, o r a claims-handling entity on their behalf and no attorneys’ fees

were received by plaintiffs’ counsel for that payment.

               2.       Assessment Amount

      The assessment amount shall be ten percent (10%) for common benefit attorneys’ fees

and two percent (2%) for common benefit costs. The assessment represents a hold back (See

e.g., In re Zyprexa Prods. Liab. Litig., 467 F. Supp. 2d 256, 266 (2d. Cir. 2006)) and shall not

be altered in any way unless each of the following occurs: (1) the entire Plaintiffs’ Steering

Committee (“PSC”) is consulted and provides an opportunity to be heard prior to the filing of

any motion to change the assessment amount; (2) the PSC approves the proposed change to the

assessment by a majority vote; (3) the Court grants a duly-noticed motion, with an opportunity

to be heard: and, (4) the Court determines that good cause warrants a modification of the

Assessment Amount.

               3.      Late Participation

       For any counsel who enters into the Participation Agreement sixty (60) days after the

entry of this Order, or ninety (90) days after their first filed case was docketed in any jurisdiction

(whichever is later), the Assessment Amount shall be sixteen percent (16%) being allocated for

fees and two percent (2%) for common benefit expenses. Under the appropriate circumstances,

the Plaintiffs’ Co-Lead Counsel may waive the late participation fee.

               4.      Defendant Obligations

      Defendants and their counsel shall not distribute any settlement proceeds that are

potentially subject to this order to any plaintiff or plaintiff's counsel until after (i) defendants’

counsel notifies Plaintiffs’ Co-Lead Counsel in writing of the existence of a settlement, the


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name of the individual plaintiff’s attorney, the court in which the matter was filed (if it was a

filed claim), and copy the plaintiff’s lawyer with said writing; and, (ii) within seven days

Plaintiffs’ Co-Lead Counsel or its selected designee confers with liaison for the Minnesota

State Court Litigation if the settlement relates to a matter filed in the Minnesota consolidated

litigation or by counsel with other cases filed in Minnesota, or if it was filed in a different

jurisdiction with consolidation or by counsel with other cases filed in that jurisdiction, the

appointed leader of any other state court litigation, in an effort to reach a consensus as to

whether the case is subject to assessment. The state court liaison or chair shall promptly confer

with the individual lawyer at issue as to the pendency of this matter and to obtain his or her

position as to whether the case should be assessed in accordance with this Order and the facts

underlying the case. It is expected that after this conferral process, in most cases the respective

court appointed chairs will agree as to whether or not a case is subject to assessment and shall

advise defense counsel in writing who will then proceed, within seven days, to issue the

settlement distribution, and if agreed, the hold back. If the state court litigation chair or leader

does not have a position on this issue due to inadequate information on a particular law firm or

case, they shall so advise the Plaintiffs’ Co-Lead Counsel or its designee and the attorney

representing the plaintiff who shall then confer within seven days. In the event the Plaintiffs’

Co-Lead Counsel or its designee and the liaison for the Minnesota or other consolidated

litigations or individual state court lawyer do not agree, then the parties shall notify counsel for

Defendants in writing and submit the issue to the respective Judges who will either confer and

decide or choose to refer the matter to a mediator agreed to by both parties. In the event of such

a disagreement, to avoid delayed settlement distribution, 3M shall distribute to the plaintiff’s

counsel the settlement proceeds, less the hold back, until such time as 3M is advised in writing



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by the Plaintiffs’ Co-Lead Counsel of the outcome of the dispute resolution process whether or

not the cases in question are subject to an Assessment pursuant to this Order. The state court

lawyer shall be copied on said notification. The Plaintiffs’ Co-Lead Counsel shall otherwise

keep this information confidential. For cases subject to an assessment, defendants are directed

to withhold the Assessment from any and all amounts paid to plaintiffs and their counsel and to

pay the Assessment directly into the Bair Hugger Fee Fund and the Bair Hugger Expenses Fund

(collectively referred to as the “Funds”) as a credit against the settlement or judgment. 1 No

orders of dismissal of any plaintiff’s claim that is subject to this Order shall be entered unless

accompanied by a certificate of plaintiff’s and defendant’s counsel that the assessment,

where applicable, will be withheld and will be deposited into the Funds at the same time the

settlement proceeds are paid to the settling plaintiff or his or her counsel or designee, or in the

case of a dispute as to the assessment as set forth above, that 3M warrants that it is holding the

assessment pending resolution of the dispute. If for any reason the assessment is not or has not

been so withheld, the plaintiff and his or her counsel are jointly responsible for paying the

assessment into the Funds promptly.

      Counsel for each defendant shall provide at least quarterly notice to the Court or its

designee, and served on Genevieve Zimmerman, for the Plaintiffs’ Co-Lead Counsel, the

names and docket numbers of the cases for which it has paid an assessment into the Funds

since the last such report. A report is not due if there are no payments made into the Funds by

that defendant during that quarter. The lack of a report during a given quarter constitutes a

representation that no payments were made into the Funds by the defendant not filing a report

that quarter. Details of any individual settlement agreement, individual settlement amount and

1
  Provided 3M must receive acceptable payee tax identification numbers or other acceptable tax-
related information prior to issuance of any payment directly to the “Funds.”

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individual amounts deposited into escrow shall be confidential and shall not be disclosed by

the Escrow Agent to the Plaintiffs’ Co-Lead Counsel, the Court, or the Court’s designee, unless

the Court requests that it receive that information. Monthly statements from the Escrow Agent,

however, shall be provided to Genevieve Zimmerman, for the Plaintiffs’ Co-Lead Counsel,

and the Court showing only the aggregate of the monthly deposits, disbursements, interest

earned, financial institution charges, if any, and current balance.

III.    COMMON BENEFIT EXPENSES

        A.     Qualified Expenses Eligible for Reimbursement

        In order to be eligible for reimbursement of common benefit expenses, the expenses

must meet the requirements of this section. Specifically, in order to be a reimbursable expense,

the expense must be: (i) for the common benefit of the litigation as a whole and not solely for

the benefit of individual plaintiff cases; (ii) appropriately authorized, as set forth herein and

timely submitted; (iii) within the defined limitations set forth in this Order; and (iv) verified.

        B.     Shared and Held Common Benefit Expenses

               1.      Shared Costs

        Shared Costs are costs incurred for the common benefit of the MDL as a whole. Shared

Costs are costs that will be paid out of a separate Bair Hugger MDL PSC Fund account

that has already been established by Plaintiffs’ Co-Lead Counsel and funded by all members of

the Plaintiffs’ Co-Lead Counsel, PSC and others as determined by the Plaintiffs’ Co-Lead

Counsel and its designated subcommittees.           All Shared Costs must be approved by the

Plaintiffs’ Co-Lead Counsel prior to payment. Shared Costs include: (i) certain court filing and

service costs, if the filing and service of the materials were MDL materials, including for

bellwether cases, and not those associated with a unique case; (ii) deposition and court reporter



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costs for non-case specific depositions; (iii) document depository costs, including creation,

operation, equipment and administration and costs attendant to training; (iv) Plaintiffs’ Co-

Lead Counsel and Plaintiff’s Liaison Counsel’s administrative expenses (e.g., expenses for

equipment, technology, courier services, long distance, telecopier, electronic service, photocopy

and printing); (v) Plaintiffs’ Co-Lead Counsel and PSC group administration matters such as

meetings and conference calls; (vi) accountants’ fees; (vii) fees and expenses paid to expert

witnesses and consultants retained by the MDL to work on behalf of the MDL; (viii) printing,

copying, coding, scanning (by approved outside vendors); (ix) research by outside third party

vendors/consultants/attorneys retained by the Plaintiffs’ Co-Lead Counsel to assist in the

common prosecution of these actions; (x) common witness expenses including travel; (xi)

translation costs; (xii) bank and financial institution charges; and, among others, (xiii)

investigative services and costs.

               2.     Held Costs

      Held Costs are those that will be carried by Participating Counsel and reimbursed when

determined by the Plaintiffs’ Co-Lead Counsel and this Court to be authorized costs that are

yet unreimbursed.     Held Costs are costs incurred for the global benefit of the MDL.

Contributions made to the Bair Hugger MDL PSC Fund shall be reimbursable at the

conclusion of the litigation or at such time as otherwise may be determined by a majority of the

Plaintiffs’ Co-Lead Counsel. Held Costs are those that do not fall into the above Shared Costs

categories but are incurred for the benefit of all plaintiffs in general. No specific client-related

costs, except for bellwether trial costs, can be considered as Held Costs.          All costs of a

substantial nature that meet these requirements and fall under the categories set forth below

shall be considered Held Costs and qualify to be submitted for consideration by the Plaintiffs’



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Co-Lead Counsel and the Court for future reimbursement from the Bair Hugger Expense Fund.

      C.       Authorization and Submission

      This Order and the Participation Agreement set forth the guidelines for authorizing and

submitting expenses for the common benefit. Said expenses shall be electronically submitted in

the designated form to the Escrow Agent and Plaintiffs’ Co-Lead Counsel on or before the 15th

day of each month by e-mailing records to Ben W. Gordon, Jr. of Levin Papantonio, P.A., at:

bgordon@levinlaw.com,        Genevieve Zimmerman of Meshbesher & Spence, Ltd., at:

gzimmerman@meshbesher.com, and Michael V. Ciresi of Ciresi Conlin LLP, at:

MVC@ciresiconlin.com, accompanying the time record submissions set forth below.

      D.       Expenses Limitations

               1.     Travel Limitations

      Except in extraordinary circumstances approved by Plaintiffs’ Co-Lead Counsel, all travel

reimbursements are subject to the following limitations:

               i.    Airfare. Ordinarily only the price of a coach seat for a reasonable itinerary
               will be reimbursed. Business/First Class Airfare will not be fully reimbursed,
               except for international flights or cross-country flights, which requires prior
               written approval by Plaintiffs’ Co-Lead Counsel. In the event non-coach air travel
               is used, the attorney shall be reimbursed only to the extent of the full coach fare if
               the full coach fare for that flight is contemporaneously documented.

               ii.    Hotel.      Hotel room charges for the average available room rate of a
               business hotel, including the Hyatt, Hilton, Sheraton, Westin, and Marriott hotels,
               in the city in which the stay occurred will be reimbursed. Luxury hotels will
               not be fully reimbursed but will be reimbursed at the average available rate of a
               business hotel.

               iii.   Meals. Meal expenses must be reasonable.

               iv.    Cash Expenses. Miscellaneous cash expenses for which receipts
               generally are not available (tips, luggage handling, pay telephone, etc.) will be
               reimbursed up to $50.00 per trip, as long as the expenses are properly itemized.

               v.     Rental Automobiles. Luxury automobile rentals will not be fully

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              reimbursed, unless only luxury automobiles were available.            If luxury
              automobiles are selected when non-luxury vehicles are available, then the
              difference between the luxury and non-luxury vehicle rates must be shown on the
              travel reimbursement form, and only the non-luxury rate may be claimed, unless
              such larger sized vehicle is needed to accommodate several counsel.

              vi.     Mileage.      Mileage claims must be documented by stating origination
              point, destination, total actual miles for each trip, and the rate per mile paid by the
              member’s firm. The maximum allowable rate will be the maximum rate allowed
              by the IRS (currently 50.5 cents per mile).

              2.     Non-Travel Limitations

              i.     Long Distance, Conference Call and Cellular Telephone Charges:
              Common benefit long distance, conference call and cellular telephone charges
              must be documented as individual call expenses in order to be compensable.
              Copies of the telephone bills must be submitted with notations as to which
              charges relate to the Bair Hugger MDL litigation. Such charges are to be
              reported at actual cost.

              ii.     Shipping, Overnight, Courier, and Delivery Charges: All claimed
              common benefit shipping, overnight, courier or delivery expenses must be
              documented with bills showing the sender, origin of the package, recipient, and
              destination of the package. Such charges are to be reported at actual cost.

              iii.   Postage Charges: A contemporaneous postage log or other supporting
              documentation must be maintained and submitted for common benefit postage
              charges. Such charges are to be reported at actual cost.

              iv.    Telefax Charges: Contemporaneous records should be maintained
              and submitted showing faxes sent and received for common benefit matters. The
              per-fax charge shall not exceed $1.00 per page.

              v.     In-House Photocopy: A contemporaneous photocopy log or other
              supporting documentation must be maintained and submitted. The maximum
              copy charge is 20¢ per page.

              vi.   Computerized Research – Lexis/Westlaw: Claims for Lexis or
              Westlaw, and other computerized legal research expenses should be in the exact
              amount charged the firm and appropriately allocated for these research services.

       E.     Verification

       The forms detailing expenses shall be certified by a senior partner in each firm

attesting to the accuracy of the submissions. Attorneys shall keep receipts for all expenses.

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Credit card receipts are an appropriate form of verification so long as accompanied by a

declaration from counsel that work was performed and paid for the common benefit.

        F.     Costs or Expenses in Excess of Amounts Available in the Expenses Fund

        To the extent the Bair Hugger Expense Fund or the Bair Hugger Fee Fund are

insufficient to appropriately address or reimburse common benefit expenses and time, the Court

may equitably apportion the amounts in either fund to the other as is just and appropriate.

IV.     COMMON BENEFIT WORK

        A.     Overview of Common Benefit Work

        Only Participating Counsel are eligible for reimbursement for time and efforts expended

for the common benefit. Participating Counsel shall be eligible for reimbursement for time and

efforts expended for common benefit work, if said time and efforts are (a) for the

common benefit, (b) appropriately authorized, as set forth in the Participation Agreement,

(c) timely submitted and (d) approved by this Court.

        B.     Authorization for Compensable Common Benefit Work

        As the litigation progresses and common benefit work product of the same type and

kind continues to be generated, Plaintiffs’ Co-Lead Counsel will provide Participating Counsel

with such common benefit work product and will otherwise cooperate with counsel to

coordinate the MDL litigation and the state litigation for the benefit of the plaintiffs.

Authorized Common Benefit Work includes assignments made by Plaintiffs’ Co-Lead Counsel

for assigned searches performed on the electronic depository including review and document

coding; custodial witness summaries; timelines; materials provided to experts; expert retention;

depositions of liability witnesses and generic experts; the deposition cuts that may be used in a

case; the trial exhibit preparation; the scientific articles assembled; PSC and Plaintiffs’ Co-Lead



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Counsel activities; work of attorneys in any other state court proceeding where the leadership

represents that the litigants agree to join in the participation agreement and the work inures

to the common benefit; Discovery, Science and Law Committee work; authorized state and

federal court trials; and company and generic expert depositions in state or federal court. Time

spent on matters common to all claimants in MDL No. 15-2666 must be assigned by

Plaintiffs’ Co-Lead Counsel to be eligible for consideration for common benefit.

       A Fee Committee at the appropriate time shall consider eligible common benefit work

whether performed in federal court or in any of the state court jurisdictions in making its

recommendations. Time spent on developing or processing individual issues in any case for

an individual client (claimant), except for a discovery pool/bellwether case, and time spent on

unauthorized work will not be considered and should not be submitted.

              1.      Examples of authorized and unauthorized work include:

              a.      Depositions of corporate and expert witnesses:          Any Participating

              Counsel may attend any deposition, space permitting; however, if such counsel

              has not been designated as one of the authorized questioners or otherwise

              authorized to attend the deposition on behalf of the Plaintiffs’ Co-Lead

              Counsel/PSC (or you are not one of the examiners designated or authorized by

              court-appointed state litigation lead or liaison counsel), your time and expenses

              will not be considered common benefit work, but rather will be considered as

              attending on behalf of such counsel’s individual clients;

              b.      Periodic MDL Conference Calls: These calls are held so that individual

              attorneys are kept up-to-date on the status of the litigation, and participation by

              listening to such calls is not common benefit work.         Each attorney has an


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        obligation to keep themselves informed about the litigation so that they can best

        represent their clients, and that is a reason to listen in on those calls. The

        attorneys designated by Plaintiffs’ Co-Lead Counsel and Liaison Counsel to run

        those calls are working for the common benefit by keeping other lawyers

        informed and educated about the case, and their time will be considered for

        common benefit.      Nothing in this paragraph shall be construed to prevent

        members of the PSC from submitting common benefit time for participation in

        PSC communications that are germane to all members of the PSC and are

        necessary to fulfill their PSC obligations;

        c.       Periodic Status Conferences: Regular status conferences are held

        so that the litigation continues to move forward and legal issues are resolved with

        the Court. Individual attorneys are free to attend any status conference held in

        open court in order to keep up-to-date on the status of the litigation and

        participation, but attending and listening to such conferences is not common

        benefit work. Each attorney has an obligation to keep themselves informed

        about the litigation so that they can best represent their clients. Mere

        attendance at a status conference will not be considered a common benefit

        expense or common benefit time. The attorneys designated by Plaintiffs’ Co-

        Lead Counsel to address issues that will be raised at a given status conference

        or requested by Plaintiffs’ Co-Lead Counsel to be present at a status conference

        are working for the common benefit and their time will be considered for

        common benefit. Similarly, any attorney whose attendance at a status conference

        is specifically requested by the MDL Judge in that case may submit their time to



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        the Fee Committee for evaluation as common benefit time;

        d.     Committee M eetings or Calls: During committee phone calls or other

        meetings there is a presumption that only one participant per firm will qualify

        for common benefit time, unless otherwise authorized by Plaintiffs’ Co-Lead

        Counsel;

        e.     Identification and Work Up of Experts: Participating Counsel are

        encouraged to identify experts in consultation with Plaintiffs’ Co-Lead

        Counsel. If a Participating Counsel travels to and retains an expert without

        the knowledge and approval of Plaintiffs’ Co-Lead Counsel, they understand

        that the MDL may not need or use that expert, and their time and expenses

        may not be considered as providing common benefit;

        f.     Attendance at Seminars: Attendance at a seminar that has as an

        agenda item or information about the Bair Hugger litigation is not common

        benefit work or a common benefit expense;

        g.     Document Review:       In the MDL, only document review specifically

        assigned and authorized to an attorney will be considered common benefit work.

        If an attorney elects to review documents that have not been assigned to that

        attorney by Plaintiffs’ Co-Lead Counsel, that review is not considered common

        benefit work.   In state court, only document review specifically assigned and

        authorized to an attorney will be considered common benefit work.         If an

        attorney elects to review documents that have not been assigned to that attorney

        by state court leadership in conjunction with the MDL Plaintiffs’ Co-Lead

        Counsel, that review is not considered common benefit. Participating Counsel



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        will receive periodic reports, from the document vendor retained by Plaintiffs’

        Co-Lead Counsel to manage the electronic production, of computer billing time

        for depository review. This vendor has the capability to track actual time spent

        by each attorney in reviewing documents. Participating Counsel should bring any

        discrepancy to the attention of Plaintiffs’ Co-Lead Counsel or its designee within

        thirty days of receipt of the vendor report. Failure to timely bring any claimed

        discrepancy to the attention of Plaintiffs’ Co-Lead Counsel will result in the

        compensable document review time being presumptively deemed that which was

        electronically logged by the vendor.     A Fee Committee will review all fee

        submissions related to document review, and document review that is duplicative

        of what has been assigned in the MDL may not be compensated;

        h.     Review of Pleadings and Orders: Each attorney has an obligation

        to keep themselves informed about the litigation so that they can best represent

        their clients. Review of pleadings and orders is part of that obligation. Only

        those attorneys designated by Plaintiffs’ Co-Lead Counsel to review or

        summarize those pleadings or Orders for the MDL are working for the common

        benefit and their time will be considered for common benefit.          All other

        counsel reviewing those pleadings and orders do so for their own benefit and the

        benefit of their own clients, and the review is not considered common benefit.

        Nothing in this paragraph shall be construed to prevent members of Plaintiffs’

        Co-Lead Counsel/PSC from submitting common benefit time for reviewing

        orders of the Court that are germane to all members of the Plaintiffs’ Co-Lead

        Counsel/PSC and are necessary for review to fulfill their committee obligations;



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        i.     Emails:     Time recorded for reviewing emails, and providing non-

        substantive responses, generally is not compensable unless germane to a specific

        task being performed by the receiving or sending attorney or party that is directly

        related to that email. Thus, for example, review of an email sent to dozens of

        attorneys to keep them informed on a matter on which they are not

        specifically working would not be compensable. Each attorney has an obligation

        to keep themselves informed about the litigation so that they can best represent

        their clients and that is a reason to review emails to a larger group which involves

        a matter on which the recipient is not directly and immediately working. If time

        submissions are heavy on email review and usage with little related substantive

        work, that time may be heavily discounted or not compensated at all.

        j.     Review of Discovery Responses: Each attorney has an obligation to

        keep themselves informed about the litigation so that they can best represent their

        clients and that is a reason to review discovery responses served in this litigation.

        Only those attorneys designated by Plaintiffs’ Co-Lead Counsel to review and

        summarize those discovery responses for the MDL are working for the common

        benefit and their time will be considered for common benefit. All other counsel

        reviewing those discovery responses do so for their own benefit and the benefit

        of their own clients, and the review is not considered common benefit;

        k.     Bellwether Trials: While the work-up of individual cases is not

        considered common benefit, in the event a case is selected as part of an approved

        early preference, discovery pool or bellwether trial process in the MDL or other

        participating state court proceedings, the time and expenses in trying the case



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               (including work performed as part of the approved bellwether process) may be

               considered for common benefit to the extent it complies with the other

               provisions of this Order or Participation Agreement.        In the event that the

               plaintiffs’ counsel are unsure if the action they are about to undertake is

               considered a common benefit action, counsel shall ask a member of Plaintiffs’

               Co-Lead Counsel in advance as to whether such time may be compensable.

       C.      Time Keeping and Submission of Time Records

       All time must be authorized and accurately and contemporaneously maintained.

Time shall be kept according to these guidelines. Participating Counsel shall keep a daily record

of their time spent in connection with common benefit work on this litigation, indicating with

specificity the hours, location and particular activity (such as “conducted deposition of

John Doe.”).    Time entries that are not sufficiently detailed may not be considered for

common benefit payments. All common benefit work time for each firm shall be maintained in

tenth-of-an-hour increments.

       Upon Order of the Court, payments may be made from the Bair Hugger Fee Fund or

Bair Hugger Expense Fund, as applicable to attorneys who provide services or incur

expenses for the joint and common benefit of plaintiffs in addition to their own client or clients.

These guidelines are intended for all activities performed and expenses incurred by counsel that

relate to matters common to all claimants in MDL No. 15-2666 or other participating

coordinated state court proceedings. The following shall be noted:

                1.    All time submissions must be incurred only for work authorized under this

                      Order.

                2.    All time submissions must be made on the forms provided by Plaintiffs’



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             Co-Lead Counsel.

        3.   All time and expenses are subject to proper and timely submission (on

             the 30th of each month beginning on June 30, 2016) of contemporaneous

             records certified to have been timely received within thirty (30) days

             after the 30th of the previous month. By June 30, 2016, submissions

             shall be made for all time incurred prior to the entry of this Order. The

             date on which Participating Counsel can be considered to have accrued

             common benefit time and expenses is December 11, 2015, the date the

             JPML transferred this MDL to the District of Minnesota.

        4.   All time and expense submissions shall be electronically submitted in

             the designated form to the Escrow Agent and Plaintiffs’ Co-Lead Counsel

             on or before the 15th day of each month by e-mailing records to Ben W.

             Gordon, Jr. of Levin Papantonio, P.A., at: bgordon@levinlaw.com,

             Genevieve    Zimmerman       of   Meshbesher     &   Spence,    Ltd.,   at:

             gzimmerman@meshbesher.com and Michael V. Ciresi of Ciresi Conlin

             LLP, at: MVC@ciresiconlin.com. Each will cooperatively share and

             maintain the data submitted. It is therefore essential that each firm, on a

             monthly basis, timely submit its records for the preceding month.

        5.   Untimely Submissions.     Failure to provide time records within thirty

             (30) days after notice from the Plaintiffs’ Co-Lead Counsel that time

             records were not timely submitted shall result in a waiver. Under the

             appropriate circumstances, the Plaintiffs’ Co-Lead Counsel may allow

             untimely submissions of time records.


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       D.      Distributions

               1.     Procedures and Forms

       The Plaintiffs’ Co-Lead Counsel shall establish forms and procedures to implement and

carry out any time and expense submissions required by the Court and for reimbursement from

the Funds. The forms already established are attached hereto as Exhibit B. Once developed,

any additional forms may be obtained from the Plaintiffs’ Co-Lead Counsel. The forms shall

be certified by a senior partner in each firm attesting to the accuracy of the submissions.

Questions regarding the guidelines or procedures or the completion of any form should be

directed to the Plaintiffs’ Co-Lead Counsel.

               2.      Court Approval

       The amounts deposited in the Funds shall be available for distribution to Participating

Counsel who have performed professional services or incurred expenses for the common benefit

at the appropriate time. No amounts will be disbursed without review and approval by the Court

or such other mechanism as the Court may order.             Specifically, such sums shall be

distributed only upon order of the Court in MDL No.15-2666.                This Court retains

jurisdiction over any common benefit award and, in furtherance of state-federal cooperation,

may receive input from state court judges. Each Participating Counsel who does common

benefit work has the right to present their claim(s) for compensation to the Court prior to any

recommendation or determination as to distribution. Disbursements shall be at the direction of

the Court, advised by Co-Lead Counsel, consistent with this Common Benefit Order.

Participating Counsel retain the ability to appeal their individual allocation/disbursement from

the Common Funds to this Court.




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      IT IS SO ORDERED.

Dated: May 24, 2016                       s/ Joan N. Ericksen
                                          JOAN N. ERICKSEN
                                          United States District Judge




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